4:08-cr-03026-RGK-CRZ      Doc # 189    Filed: 06/10/15   Page 1 of 1 - Page ID # 506




                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:08CR3026-2
                                         )
                   Plaintiff,            )
                                         )
      vs.                                )
                                         )          ORDER
CARLOS LOVERBOY SILVA,                   )
                                         )
                   Defendant.            )

       Federal Public Defender David R. Stickman reports that the defendant does not
qualify for a reduction of his sentence under Sentencing Guideline Amendment 782
(see filing 188). Accordingly,

       IT IS ORDERED that Federal Public Defender David R. Stickman’s motion to
withdraw (filing 188) is granted, the defendant’s motion to reduce sentence (filing
168) is denied, and the defendant’s motion to appoint counsel (filing 181) is denied
as moot.

      Dated June 10, 2015.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
